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            United States Court of Appeals
                          For the First Circuit


Nos. 15-2456 & 15-2462

                         UNITED STATES OF AMERICA,

                                 Appellee,

                                    v.

                          DIEGO FERNÁNDEZ-SANTOS,

                           Defendant, Appellant.


            APPEALS FROM THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

           [Hon. Francisco A. Besosa, U.S. District Judge]


                                  Before

                           Howard, Chief Judge,
                  Dyk*   and Thompson, Circuit Judges.


     Jose R. Gaztambide-Aneses for appellant.

     Mainon Schwartz, Assistant United States Attorney, with whom
Rosa Emilia Rodríguez-Vélez, United States Attorney, Mariana E.
Bauzá Almonte, Assistant United States Attorney, Chief, Appellate
Division, and Thomas F. Klumper, Assistant United States Attorney,
Senior Appellate Counsel, were on brief, for appellee.


                                May 1, 2017




     *   Of the Federal Circuit, sitting by designation.
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            THOMPSON,     Circuit   Judge.        Defendant-appellant        Diego

Fernández-Santos    ("Fernández")        pled    guilty     to    three    charges

stemming from his possession of guns and drugs while on supervised

release.    He later moved to change his plea to not guilty, but the

district court denied the motion and sentenced him to seventy-six

months'    imprisonment    on    those   three    charges     plus   twenty-four

months, to be served consecutively, for violating the terms of his

supervised release.        He now appeals the court's denial of his

motion to change his plea and the procedural reasonableness of his

100-month sentence.       Finding no error on either score, we affirm.

             FACTUAL BACKGROUND AND PROCEDURAL HISTORY1

            Back in 2011, Fernández was convicted of possessing

cocaine with intent to distribute. He was sentenced to time served

and placed on supervised release.         Fernández failed to comply with

the terms of that supervised release, so law enforcement officers

obtained a warrant for his arrest.                Early in the morning of

February 13, 2014, the officers approached his home to make the

arrest, knocked on the door, and identified themselves.                   They got

no response but heard movement inside, so they attempted to enter

by force.    But this took a little time, and as they were trying to



     1 Fernández appeals after two days of trial and a guilty plea,
so we take the facts from the change-of-plea colloquy, the
unchallenged portions of the presentence investigation report, and
transcripts of the trial and sentencing hearing. See United States
v. Díaz-Bermúdez, 778 F.3d 309, 310 (1st Cir. 2015).


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get through the front door, someone ran out the back door carrying

a red bag.    Officers gave chase.            The runner turned out to be

Fernández's twelve-year-old nephew, and the red bag contained drug

paraphernalia, cocaine residue, zip-top bags with a fruit insignia

(commonly used by drug dealers to brand their product), 9mm

ammunition, and two firearm magazines.

           Meanwhile, other officers got in the house and quickly

apprehended a wet-handed Fernández, who was darting out of the

bathroom and also trying to flee out the back door.                     Officers

searched the house and found more drug paraphernalia, including

cutting agents (used to increase the quantity of saleable drugs),

torn "eight-ball" wrappings on top of the washing machine next to

the bathroom (later found to contain trace amounts of cocaine),

digital scales, and more fruit-branded zip-top bags.                 When asked

if there was anything in the house that might harm an officer,

Fernández said there was a gun hidden behind the washing machine,

so the officers immediately recovered it.

           On March 27, 2014, a grand jury indicted Fernández on

three   charges:    (1)      possession   with    intent    to    distribute    a

detectable amount of cocaine, in violation of 21 U.S.C. § 841

("Count One"); (2) possession of a firearm in furtherance of the

drug-trafficking crimes charged in Count One, in violation of 18

U.S.C. § 924(c)(1)(A) ("Count Two"); and (3) being a convicted




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felon in possession of a firearm, in violation of 18 U.S.C.

§§ 922(g)(1) and 924(a)(2) ("Count Three").

            Fernández's trial began on June 9, 2014.             A jury got

selected,   the    government   and   Fernández's    counsel    made    their

opening statements, the court gave preliminary jury instructions

about the three charges and their elements, and the government

presented some of its evidence.       The next day Fernández put a halt

to the trial and changed his plea to guilty to all three charges.

            At his change-of-plea colloquy, Fernández stated that he

had received a copy of the indictment and had discussed it with

his counsel.      Fernández further stated that he was satisfied with

his counsel's representation, understood the charges against him,

committed the crimes charged, and was pleading guilty knowingly,

voluntarily, and intelligently.       The government recounted some of

the evidence against Fernández, who agreed with the government's

version of the facts.     The district court accepted his guilty plea

and set a date for sentencing.

            Shortly after pleading guilty, Fernández was transferred

from Puerto Rico to a prison in Georgia.       Fernández claims he lost

touch with his lawyer after the transfer.         On September 10, 2014,

three months after Fernández pled guilty to the charges, his

attorney filed a motion to withdraw from the case.             The district

court opted to grant the motion in part--it appointed a new

attorney to work with the original one. Then, on November 3, 2014,


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Fernández's original attorney sought the same relief and made a

second motion to withdraw.          This time, the district court granted

it in full. That left Fernández's new attorney as his sole defense

counsel.

            The ins and outs of the rest of the proceedings are

important to understanding Fernández's legal arguments on appeal,

so we outline them now and save the details for later.                       First,

working with his new attorney, on January 11, 2015, seven months

after he pled guilty, Fernández moved to withdraw his guilty plea.

After hearing from both sides, the court denied this motion,

concluding that:       Fernández pled guilty voluntarily, knowingly,

and   intelligently;     Fernández's      claim     of   actual    innocence      was

meager; and Fernández's motion was not timely.                     Following this

denial, on November 4, 2015, the district court sentenced Fernández

to sixteen months to be served concurrently on Counts One and

Three, and sixty months to be served consecutively for Count Two-

-a total of seventy-six months for the three charges.                     But that

was not all.        Remember that officers caught Fernández when they

came to arrest him for violating the conditions of his supervised

release imposed for his 2011 conviction.             One of those conditions:

"the defendant shall not commit another . . . crime."                   So, after

Fernández    pled    guilty    to   the   other    crimes,     the   court    found

Fernández had violated the conditions of his supervised release.

For the violation, the court sentenced Fernández to an additional


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twenty-four months, to be served consecutively to his seventy-six

month sentence, bringing Fernández's total sentence to 100 months.

              Fernández   appeals,    challenging     the    district    court's

denial   of    his   motion   to   withdraw     his   guilty     plea   and     the

consecutive nature of his violation sentence.

                                   DISCUSSION

     A. Motion to Withdraw the Guilty Plea

              Fernández first argues that the district court erred by

denying Fernández's motion to withdraw his guilty plea. Of course,

the government says the district court did no such thing.                That "a

defendant has no absolute right to withdraw a guilty plea" is a

well-established maxim.       United States v. Caramadre, 807 F.3d 359,

366 (1st Cir. 2015), cert. denied, 136 S. Ct. 2455 (2016).                       A

person wishing to do so after the court has accepted a plea but

before sentencing bears the burden of showing a "fair and just

reason for requesting the withdrawal."           Id. (quoting Fed. R. Crim.

P. 11(d)(2)(B)).       To determine whether a defendant has shown a

"fair and just reason," courts consider a number of factors under

the totality of the circumstances, including

             "whether the original guilty plea was knowing,
              intelligent, and voluntary,"

             "the timing of the request," and

             "whether the defendant is now colorably asserting
              legal innocence."




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Id. (citation omitted).              If these factors weigh in favor of

allowing the defendant to withdraw his guilty plea, courts also

consider any prejudice the government would face as a result.                       Id.

We review a district court's ruling on a motion to withdraw a

guilty plea for an abuse of discretion.                  United States v. Merritt,

755 F.3d 6, 9 (1st Cir. 2014).                Assessing each of Fernández's

arguments on each factor in turn, we conclude that the district

court did not abuse its discretion in denying Fernández's motion

to withdraw his plea.

             1. Knowing, Intelligent, and Voluntary Plea

             On to Fernández's first argument, that his guilty plea

was not made knowingly, intelligently, and voluntarily.                      He gives

us two reasons why, claiming:                (1) he did not understand the

charges     against    him,   and     (2)    his    original     lawyer     gave    him

ineffective assistance.        As we explain, neither argument helps him

here.

                     i. Understanding of the Charges

             Fernández      claims   he     did    not    understand   the    charges

against him because the court explained the charges in "very

general     terms"    and   inadequately          explained    the   mens    rea    the

government would have to prove at trial.2                   So, his plea was not


        2
       Fernández contends that abuse-of-discretion review applies
to all of his withdrawal-related arguments on appeal.         The
government suggests that Fernández may have waived his argument
that he did not understand the charges against him.       Because


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knowing, intelligent, and voluntary.          The government says the

explanation of the charges was adequate.        We agree.

           Rule 11 requires the district court to "inform the

defendant of, and determine that the defendant understands . . .

the nature of each charge to which the defendant is pleading,"

Fed. R. Crim. P. 11(b)(1)(G), including "the elements of the

charges that the prosecution would have to prove at trial," United

States v. Gandia-Maysonet, 227 F.3d 1, 3 (1st Cir. 2000). However,

Rule 11 "does not require the court to explain the technical

intricacies of the charges in the indictment."           United States v.

Ramos-Mejía, 721 F.3d 12, 15 (1st Cir. 2013) (internal citations

and quotation marks omitted).      Ordinarily, "it is sufficient in a

plea colloquy for a district court to ascertain that a defendant

is aware of the nature of the charge[s] against him by reading the

charge[s] in the indictment to the defendant and obtaining his

competent acknowledgment that he understands the charge[s]."                Id.

(internal citations and quotation marks omitted).

           Here, the district court certainly did at least this

much.   At the change-of-plea hearing, the district court confirmed

that Fernández was competent to plead guilty (a finding he does

not challenge on appeal) and wanted to plead guilty to the charges.



Fernández's claim is easy enough to dispose of on the merits, we
proceed to do so. See United States v. Kinsella, 622 F.3d 75, 86
(1st Cir. 2010) (taking an analogous approach).


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The   district    court   went    on    to   describe   the      charges   against

Fernández, including a statement of the mens rea the government

would have to prove on each charge.             Fernández affirmed that he

understood each charge.          The district court also confirmed that

Fernández had received the indictment and discussed it and his

decision to plead guilty with his attorney.                       The government

summarized the proof it would have presented on each charge if the

trial had continued; Fernández said he agreed with the government's

version of what he heard and "that [is] what [he] did."                    And as

the government points out, Fernández was also present during jury

selection and the first two days of his trial, where he heard the

preliminary jury instructions explaining the charges against him,

including the mens rea the government would have to prove in order

to convict.     The charges against Fernández were uncomplicated, and

the   court    repeatedly,     and     accurately,   explained      them    before

accepting Fernández's plea.            Fernández gives us no credible or

compelling reason to believe he did not understand the charges

against him.

                  ii. Ineffective Assistance of Counsel

              Alternately, Fernández attempts to convince us that he

did not knowingly, intelligently, and voluntarily plead guilty via

his claim that his lawyer "failed to represent him adequately and

misguided him."       Pertinently, he alleges that his lawyer (1)

pressured him into pleading guilty after convincing two defense


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witnesses not to testify, (2) may have failed to ask the government

to produce test results showing that one of the seized pieces of

evidence tested negative for cocaine, and (3) had a conflict of

interest (though he gives no details about that alleged conflict).

As a result, Fernández claims he was "wrongly induced" by his

defense attorney into pleading guilty.       The government argues, and

so we find, that Fernández's claims cannot be pursued here on

appeal.

           In the plea-withdrawal context, a defendant arguing that

he received ineffective assistance must show that his attorney's

performance fell below an objective level of reasonableness and

that, but for this deficient performance, there is a reasonable

probability he would not have pled guilty.         Caramadre, 807 F.3d at

371.   If an appellant's claim "is confined to matters found in the

record and can be determined without the need for additional fact

finding," we may consider it on direct appeal.               United States v.

Austin, 948 F.2d 783, 785 (1st Cir. 1991).        Otherwise, "[f]airness

to the parties and judicial economy both warrant that, absent

extraordinary circumstances, an appellate court will not consider

an ineffective assistance claim where no endeavor was first made

to determine the claim at the district level."               United States v.

Isom, 85 F.3d 831, 837 (1st Cir. 1996) (quoting Austin, 948 F.2d

at 785).




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            The district court did not "determine the claim" below,

id., suggesting instead that the claim should be addressed in a

collateral proceeding under 28 U.S.C. § 2255.3              And here on appeal,

Fernández makes only skeletal arguments and does not point to

evidence in the record that would allow us to fairly consider his

claim.      Indeed,    the   only   evidence    he       cites    to   support     his

allegations    of     witness-pressuring       is    a     paragraph     from      his

affidavit     cursorily      explaining   that       his     original     attorney

"pressured [him to plead guilty] by forcing [his] mother and the

owner of the weapon to desist from testifying."                  Such brevity does

not help him much.4



     3 Specifically, the district court found that "assistance of
competent counsel" does not factor into the plea-withdrawal
analysis in this circuit, so his ineffective-assistance-of-counsel
claims "would be more appropriately addressed pursuant to 28 U.S.C.
§ 2255." United States v. Fernandez-Santos, 136 F. Supp. 3d 160,
163 n.1 (D.P.R. 2015). To the contrary, this court has found that
ineffective assistance of counsel may be a "fair and just reason"
to withdraw a guilty plea, see Isom, 85 F.3d at 834, 837, or may
render a plea unknowing or involuntary, see Austin, 948 F.2d at
786. But Fernández does not challenge this finding, so we do not
address it any further.
     4  Because Fernández claims his original attorney kept
(presumably exculpatory) witnesses from testifying at trial, we
take this to mean he thought his lawyer's trial performance was
"so deficient that it compel[led] [him] to plead under duress."
Caramadre, 807 F.3d at 371.      But from Fernández's bare-bones
statement, we can't assess whether or not that is true because we
don't know what the allegedly-pressured witnesses would have said
on the stand, or how his lawyer's alleged meddling influenced his
decision to plead guilty. (As we explain later, testimony that
Fernández did not own the gun would not help him one whit.) Nor
does the statement give us any basis to assess the usual touchstone
in post-plea ineffective-assistance inquiries:        his lawyer's


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               Moreover, as far as we can tell, Fernández did not raise

either of his other allegations to the district court.               Nor does

he point to anything in the record to show whether his original

attorney requested the lab results, or that his attorney had a

conflict of interest.5       That means we cannot assess those claims

now,       either.   Therefore,   we   dismiss   Fernández's    ineffective-

assistance-of-counsel claim without prejudice to his right to

pursue it later under 28 U.S.C. § 2255.          See United States v. Mala,

7 F.3d 1058, 1063 (1st Cir. 1993).

               2. Timing

               Seven months elapsed between Fernández's guilty plea and

his motion to withdraw it.        Fernández claims the delay was not his

fault--he lost contact with his first lawyer when he was moved

from a prison in Puerto Rico to one in Georgia--so the district

court abused its discretion by holding this delay against him in

the plea-withdrawal calculus.          The government points out that the


"overall performance in counseling [him] about whether to plead
guilty." Id.
       5
       Fernández also states that the district court improperly
considered his motion to withdraw his plea because the court
"disregarded and failed to investigate" his "colorable" conflict-
of-interest claim. But, he does not show us where he raised the
issue below, and we do not see how the court could have
"disregarded" something never brought to its attention. This claim
is a nonstarter. See Isom, 85 F.3d at 838 ("[T]he failure to ask
the district court to convene an evidentiary hearing ordinarily
spells defeat for a contention that one should have been held."
(quoting United States v. Tardiff, 969 F.2d 1283, 1286 (1st Cir.
1992))).


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transfer to Georgia only accounts for part of the delay, so

Fernández's motion to withdraw his guilty plea was still untimely.

We think the government has the better argument.

          The timing of a motion to withdraw a guilty plea is

important, as we have said before, because it is "highly probative

of motive."    United States v. Doyle, 981 F.2d 591, 595 (1st Cir.

1992).   "While    an   immediate   change    of   heart      may   well      lend

considerable force to a plea withdrawal request, a long interval

between the plea and the request often weakens any claim that the

plea was entered in confusion or under false pretenses."                Id.    We

have previously found a delay of only thirteen days weakened a

defendant's motion to withdraw a guilty plea.                United States v.

Ramos, 810 F.2d 308, 313 (1st Cir. 1987).

          In   considering    Fernández's     motion    to     withdraw,       the

district court considered Fernández's argument that he lost touch

with his lawyer, but concluded this factor weighed against him

nonetheless:   after he was appointed substitute counsel, Fernández

still waited over two months to file his motion to withdraw.                   On

appeal, Fernández gives no explanation for the additional delay.

The district court's conclusion on this factor was not an abuse of

discretion.    See Isom, 85 F.3d at 839 (two-month delay made

withdraw untimely).




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           3. Legal Innocence

           Finally, Fernández says he is legally innocent of the

charges and puts forward a couple of arguments to support his

claim.   First, because police found only trace amounts of cocaine

in his home (.025 grams), Fernández contends that this small

quantity is insufficient to show he possessed cocaine with an

intent to distribute.6       Second, because he is innocent of the

distribution charge, it follows that he is innocent of possessing

a gun in furtherance of that distribution charge--and to boot, he

didn't even own the gun.7



     6 Fernández also points out that one of the pieces of evidence
seized from his home tested negative for cocaine. However, when
this point was raised before the district court, the government
explained that the item at issue contained a cutting agent (so it
was no surprise that it tested negative) and other items seized
tested positive for the presence of cocaine. Fernández does not
respond to this point or otherwise explain why the absence of
cocaine from one piece of evidence shows that he is legally
innocent, so we do not address this point any further.
     7 As you may recall from our analysis of his ineffective-
assistance-of-counsel argument, Fernández claimed that if not for
his original lawyer's meddling, the registered owner of the gun
would have testified for Fernández. He does not, however, identify
the owner or give us any hints about what the owner would have
said (other than that he or she owned the gun in question). The
district court dealt with Fernández's ownership argument at trial.
When Fernández attempted to cross-examine a government witness
about the owner of the gun, the court found that only "actual
possession or constructive possession" were relevant because the
charge "has nothing to do with ownership." Fernández has barely
pursued the issue since, so it may be waived: he mentioned the
allegedly exonerating (yet anonymous) witness in passing in his
motion to withdraw his plea, but not at the motion hearing or in
his court-ordered supplemental brief on his innocence claim. See
United States v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) ("[I]ssues


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            A serious claim of innocence supports the conclusion

that it would be fair and just to allow a defendant to withdraw a

guilty plea.      A "mere protestation of legal innocence cannot in

and of itself be issue-determinative, for '[t]here are few if any

criminal cases where the defendant cannot devise some theory or

story    which,   if     believed       by    a    jury,      would      result    in     his

acquittal.'"      United States v. Kobrosky, 711 F.2d 449, 455 (1st

Cir.    1983)   (citation       omitted).          "Merely       voicing     a    claim    of

innocence has no weight in the plea-withdrawal calculus; to be

given weight, the claim must be credible." United States v. Gates,

709 F.3d 58, 69 (1st Cir. 2013).                   A defendant must put forward

"factual contentions" that create a "'legally cognizable defense'

to the charges, [otherwise] 'he has not effectively denied his

culpability,'" and the district court may deny the motion to

withdraw.       Ramos,    810    F.2d    at       312    (citation       omitted).        The

government argues the district court was right to find that

Fernández's innocence claims do not amount to a legally cognizable

defense to the charges, so they did not amount to a fair and just

reason to withdraw his guilty plea, either.                      We think so, too.




adverted to in a perfunctory manner, unaccompanied by some effort
at developed argumentation, are deemed waived.").       But, the
government does not press the point, so once again we proceed to
dispose of the issue on the merits.


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                   i. Possession with Intent to Distribute

            First, contrary to Fernández's protestations, the fact

that only trace amounts of cocaine were found at Fernández's

residence   does    not   show   that   he   is   legally      innocent   of     the

possession-with-intent-to-distribute charge.                We have explained

that the amount of drugs is only one factor relevant to determining

whether a defendant had an intent to distribute.               United States v.

Cortés-Cabán, 691 F.3d 1, 35-36 (1st Cir. 2012).                 Other relevant

factors include "the purity of the drugs at issue, [] the quantity

of cash on a defendant, [] the manner in which the drugs were

packaged, [] the presence of drug paraphernalia, [] the lack of

any evidence showing a defendant used or consumed the type of drug

seized, [and] the presence of firearms."             Id. at 36.        Here, the

district court found that Fernández had an intent to distribute

drugs because of the presence of drug paraphernalia, including

eight-ball wrappings, small zip-top bags bearing drug trafficking

insignia, cutting agents, and digital scales; and the presence of

a gun and ammunition.        The district court also noted that a jury

could infer from the fact that Fernández was caught "wet-handed"

next to the torn eight-ball wrappers that he flushed a greater

quantity of drugs before the police managed to get in the house.

            Fernández's arguments on appeal focus exclusively on the

amount of drugs found in his home, but he has no rejoinder to the

district court's overall assessment of the distribution charge.


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Not only was Fernández's claim of innocence "not credible," but it

also     "contradicted   the    change-of-plea     colloquy     in    which    he

acknowledged that he committed the charged offenses."                Gates, 709

F.3d at 69.     The court did not abuse its discretion in rejecting

Fernández's quantity-based defense.

                  ii. The Gun Possession Charge

             That leaves Fernández's second innocence argument:                he

is legally innocent of possessing a firearm in furtherance of a

drug trafficking crime, he says, because he did not own the gun.

But ownership is not an element of the charge of possessing a gun

in furtherance of a drug trafficking crime. 18 U.S.C. § 924(c)(1);

United States v. Negrón-Narváez, 403 F.3d 33, 40 (1st Cir. 2005);

see United States v. Robinson, 473 F.3d 387, 399 (1st Cir. 2007)

(possession requires that defendant "knowingly have the ability

and intent to exercise dominion and control of the firearm or area

where it is located").       So, this argument doesn't create a legally

cognizable defense, either.

             4. Conclusion

             In the end, none of the relevant plea-withdrawal factors

weigh in Fernández's favor.        The Rule 11 colloquy provides strong

evidence that Fernández pled guilty knowingly, intelligently, and

voluntarily.    United States v. Chambers, 710 F.3d 23, 29 (1st Cir.

2013).     Fernández's gripes about the explanation of the charges

against him and his allegedly-ineffective counsel give us no reason


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to think otherwise. He moved to withdraw his plea two months after

getting a new lawyer (and seven months after pleading guilty), so

his timing weighs against him, too.              Finally, his drug-quantity

and gun-ownership arguments do not amount to a colorable claim of

innocence, so these arguments do nothing to tilt the scales.

Because     none   of   these    factors    weigh     in   favor       of   granting

Fernández's motion to withdraw his guilty plea, we do not have to

address any prejudice the government might face if the motion were

granted.    See Caramadre, 807 F.3d at 366.            The district court did

not abuse its discretion in finding Fernández presented no fair

and just reason to withdraw his plea, or in denying his motion.

     B. Sentencing

             We turn now to Fernández's second claim on appeal, that

the district court erred by imposing a consecutive sentence for

violating his term of supervised release.               Remember, at the time

Fernández committed the three crimes we discussed above, he was on

supervised release for a previous drug crime.                     After he pled

guilty, Fernández, like we said, was sentenced to sixteen months,

to run concurrently, for Counts One and Three (possessing cocaine

with intent to distribute, and being a felon in possession of a

firearm).     He also got five years, to run consecutively to the

sixteen-month      term,   for    Count    Two   (possessing       a    firearm    in

furtherance of a drug trafficking offense under § 924(c)).                        The

total sentence for the three Counts was seventy-six months.                         A


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half an hour later, he was sentenced a second time for violating

the terms of his supervised release. The district court calculated

a Guidelines range of twelve to eighteen months for the revocation

sentence.      But, the court gave Fernández the statutory-maximum

sentence--two years--to be served consecutively to his seventy-

six-month term.       It's the consecutive nature of the revocation

sentence he takes issue with here.

             Fernández    argues   that   his    sentence        is   procedurally

unreasonable and should be vacated.             The district court had the

discretion to run the sentences concurrently, he claims, but it

erred because it believed it was required to run his twenty-four-

month revocation sentence consecutively.               And the court's error

was prejudicial because his sentence "became [twenty-four] months

longer" as a result of this mistaken belief. The government argues

that the district court did not err because it knew it had the

discretion to run the sentences concurrently, it just chose not

to.     Even if the district court erred, the government stresses

that Fernández cannot show that his sentence was any longer as a

result.

             Fernández did not raise these arguments below, so we

review them for plain error.8        Favorably to Fernández, even if we


       8
       That means Fernández must show "(1) that an error occurred
(2) which was clear or obvious and which not only (3) affected the
defendant's substantial rights, but also (4) seriously impaired
the fairness, integrity, or public reputation of judicial


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assume--without deciding--that the district court committed an

error       that   was   clear   or   obvious   in   imposing    a   consecutive

revocation sentence, Fernandez cannot succeed.9              See United States

v. Duarte, 246 F.3d 56, 61 (1st Cir. 2001) (bypassing first two



proceedings." United States v. Marchena-Silvestre, 802 F.3d 196,
200 (1st Cir. 2015) (quoting United States v. Duarte, 246 F.3d 56,
60 (1st Cir. 2001)).
        9
       Fernández's sentencing arguments are murky. We think his
point is that the court misunderstood its discretion to run his
revocation sentence concurrently with his sentence for "counts one
and three of the new indictment." If so, Fernández is wrong. The
court's last word on the subject:        "the revocation must be
consecutive to the 924(c) count. It need not be consecutive to
the drug count, but it must be consecutive to the 924(c) count."
(The "drug count" is the sixteen-month sentence on Count One, which
ran concurrently with Count Three.) The court didn't think the
revocation had to run consecutively to Counts One and Three, so it
didn't misunderstand its discretion.
     But as we said, his arguments are murky. Earlier in his brief
he claimed the district court had the discretion to run his
revocation concurrently with "the new charges," which include the
§ 924(c) sentence from Count Two.       (Understood this way, his
prejudice argument makes more sense: his sentence could only be
"[twenty-four] months longer" because of the error if the error
was thinking the twenty-four-month revocation had to be
consecutive to all three Counts.)
     The district court thought the revocation had to be
consecutive to Fernández's § 924(c) sentence, but we aren't so
sure that's an error. District courts normally have the discretion
to run a revocation sentence concurrently.       United States v.
Carrera-González, 280 F. App'x 11, 13 (1st Cir. 2008). But, 18
U.S.C. § 924(c)(1)(D)(ii) provides that "no term of imprisonment
imposed on a person under this subsection shall run concurrently
with any other term of imprisonment imposed on the person." See
also United States v. Gonzales, 520 U.S. 1, 9-11 (1997) (holding
that a later-sentencing federal court must run a § 924(c) sentence
consecutively to any other undischarged state or federal term).
Fernández does not develop this argument at all.      So, we don't
decide the issue.


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prongs of plain-error review under similar circumstances).                       That

is so because we find that Fernández has not shown that the error-

-if any--had any impact on his substantial rights.                     Resultantly,

he cannot pass the plain-error test.

            On the third prong of plain-error review, Fernández

bears the burden of showing a "reasonable probability that the

district court would impose a different" and "more favorable"

sentence but for the error.            United States v. Serrano-Beauvaix,

400 F.3d 50, 55 (1st Cir. 2005). Fernández posits that his overall

sentence was twenty-four months longer because the revocation was

imposed consecutively.        But "[i]t is not enough for a defendant

merely to argue that his sentence might have been different" if

not for the error.       United States v. Yeje-Cabrera, 430 F.3d 1, 19

(1st Cir. 2005) (quoting United States v. Sanchez-Berrios, 424

F.3d 65, 80 (1st Cir. 2005)).            He must point to something in the

record    that    indicates      the   district   court     might       have    acted

differently if it did not harbor its mistaken belief.

            The record gives us no reason to believe that things

would have been different for Fernández but for the alleged error.

Indeed,    the    district    court     recognized     that      the    Guidelines-

recommended      revocation      sentence   for   Fernández       is     twelve      to

eighteen   months.        (And     Fernández    concedes      that     the    court's

calculation      was   correct.)       Nevertheless,     the     judge       chose   to

sentence Fernández to the statutory maximum of two years.                      See 18


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U.S.C. § 3583(e)(3).         The judge's statement of reasons for giving

Fernández    the    statutory-maximum         sentence,      over       his    lawyer's

request for a sentence at the lowest end of the range, shows he

thought the maximum possible punishment was merited by Fernández's

crimes and criminal history.             The district court explained that

Fernández endangered the minors in his home and proved himself

"unable to comply with the law," so a statutory sentence was

necessary    to    reflect     "the      nature     and    seriousness         of      the

circumstances of the violation incurred by Mr. Fernández while on

supervised    release"       and   to     "protect[]       the     community         from

[Fernández's]      further    crimes."        Even    if   the      district        court

mistakenly believed the sentences had to run consecutively, its

decision to impose the maximum sentence and its emphasis on the

"seriousness" of the offense do nothing to show that the court

would have acted differently but for its mistaken belief.

            Fernández has not shown that the district court's error,

if any occurred, "affected [his] substantial rights."                         Marchena-

Silvestre, 802 F.3d at 200.         So, he has not shown plain error.                   We

affirm his sentence.

                                   CONCLUSION

            For all the reasons discussed above, we affirm the

district     court's   ruling      and     Fernández's       sentence,          without

prejudice    to    Fernández's        right    to    raise       his     ineffective-

assistance-of-counsel claim in a collateral proceeding.


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